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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA


 THE COLEMAN COMPANY, INC.

                        Plaintiff,

          v.                                       Case No.

 TEAM WORLDWIDE CORPORATION,                       Jury Trial Demanded

                        Defendant.



                                          COMPLAINT

         Plaintiff The Coleman Company, Inc. (“Coleman” or “Plaintiff”) hereby states its

Complaint for patent infringement against Defendant Team Worldwide Corporation (“TWW”),

and avers as follows:

                                     NATURE OF THE ACTION

         1.     This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. § 1 et seq.

         2.     Coleman is a leading designer and provider of outdoor recreation products.

         3.     Coleman owns U.S. Patent No. 7,089,618 (“the ‘618 Patent”), which discloses an

air mattress having an internal side support beam having a first edge affixed to an inside of the

side panel, and a second edge affixed to an inside of at least one of the top panel and the bottom

panel.

         4.     TWW currently imports into the United States and offers for sale and sells

inflatable devices under multiple brands in the United States, including without limitation Air

Cloud™, ALPS Mountaineering®, Concierge Collection®, Cozelle®, EZ Bed™, Frontgate®,
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Grandin Road®, Improvements®, Insta Bed™, Kelty®, Lazery Sleep™, Serta®, Simply

Sleeper®, SoundAsleep, Swiss Gear®, and Wenzel®.

        5.      On information and belief, multiple inflatable devices imported, offered for sale,

and sold by TWW include an air mattress having an internal side support beam having a first

edge affixed to an inside of the side panel, and a second edge affixed to an inside of at least one

of the top panel and the bottom panel.

        6.      By importing, making, using, offering for sale, or selling these inflatable devices,

TWW is infringing one or more claims of the ’618 Patent.

        7.      Moreover, given the circumstances of TWW’s acts of infringement, the present

case is exceptional, and Plaintiff is entitled to an award of its attorneys’ fees.

                                              PARTIES

        8.      Coleman is a corporation that is incorporated in Delaware and has its principal

place of business at 180 North LaSalle Street, Chicago, Illinois.

        9.      On information and belief, TWW is a Taiwanese corporation having a principal

place of business at 9F, No. 24, Songzhi Rd., Xinyi District Taipei City 110, Taiwan R.O.C.

                                          JURISDICTION

        10.     This court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1338(a) because this Complaint includes a cause of action for patent

infringement under the laws of the United States, 35 U.S.C. § 1 et seq.

        11.     On information and belief, this Court has personal jurisdiction over TWW

because it has availed itself of the rights and benefits of the laws of Virginia, and it has derived

substantial revenue from the sales of infringing products in Virginia.




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          12.   TWW mass-produces and distributes inflatable devices embodying the ’618

Patent.

          13.   TWW intends to serve the United States market including Virginia retailers and

consumers.

          14.   TWW delivers inflatable devices embodying the ‘618 Patent to the United States

with the expectation that such devices will be purchased by Virginia consumers.

          15.   TWW intentionally places inflatable devices embodying the ‘618 Patent into the

Virginia stream of commerce by selling such devices to retailers who do business in Virginia and

sell to Virginia consumers.

          16.   TWW has in the past and continues to infringe the ‘618 Patent by selling

inflatable devices embodying the ‘618 Patent to retailers, other intermediaries, and consumers in

Virginia.

          17.   TWW’s website, www.twwcorp.com/ppaffiliates.asp, lists more than forty

wholesalers and retailers that sell their products. Several of the retailers listed on TWW’s

website do business in Virginia and/or offer inflatable devices embodying the ’618 Patent in

stores located in Virginia or on their store website to Virginia consumers.

          18.   Venue is proper in this district under 28 U.S.C. §§ 1391(c)(3).

                                  FACTUAL BACKGROUND

          19.   United States Patent Number 7,089,618 (“the ‘618 Patent”), entitled “Air

Mattress,” was duly and legally issued on August 15, 2006, and names Andrew T. Metzger as the

inventor. Attached as Exhibit A is a true and correct copy of the ‘618 Patent.

          20.   The ’618 Patent claims, among other things, an air mattress, including a top panel

and a spaced bottom panel; at least one side panel extending between the top panel and the



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bottom panel; the at least one side panel, the top panel, and the bottom panel being joined to one

another along their common peripheral edges to define an air chamber therebetween; and at least

one internal side support beam extending in the lengthwise direction of the at least one side

panel, the at least one internal side support beam having a first edge affixed to an inside of the at

least one side panel, a second edge affixed to an inside of at least one of the top panel and the

bottom panel, and a section between the first edge and the second edge where the first side

support beam is attached neither to said at least one side panel nor said at least one of the top

panel and the bottom panel, the internal side support beam being arranged such that when the air

chamber is filled with air, the section of the internal side support beam is in tension and the

internal side support beam limits outward expansion of said at least one side panel.

          21.   Plaintiff Coleman owns and has standing to sue for infringement of the ‘618

Patent.

          22.   On information and belief, TWW imports into the United States, offers for sale,

and sells inflatable devices under the brand names Air Cloud™, ALPS Mountaineering®,

Concierge Collection®, Cozelle®, EZ Bed™, Frontgate®, Grandin Road®, Improvements®,

Insta Bed™, Kelty®, Lazery Sleep™, Serta®, Simply Sleeper®, SoundAsleep, Swiss Gear®,

and Wenzel®.

          23.   Inflatable devices imported, offered for sale, and sold by TWW include an air

mattress with a top panel and a spaced bottom panel, at least one side panel extending between

the top panel and the bottom panel, the at least one side panel, the top panel, and the bottom

panel being joined to one another along their common peripheral edges to define an air chamber

therebetween and at least one internal side support beam extending in the lengthwise direction of

the at least one side panel, the at least one internal side support beam having a first edge affixed



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to an inside of the at least one side panel, a second edge affixed to an inside of at least one of the

top panel and the bottom panel, and a section between the first edge and the second edge where

the first side support beam is attached neither to said at least one side panel nor said at least one

of the top panel and the bottom panel. Specifically, on information and belief, at least the Serta

SKU Nos. 85001714, ST840017, ST840011, ST840015, ST840018 and Insta-Bed SKU Nos.

84003115, 840017G include an internal side support beam extending in the lengthwise direction

of the at least one side panel, the at least one internal side support beam having a first edge

affixed to an inside of the at least one side panel, a second edge affixed to an inside of at least

one of the top panel and the bottom panel, and a section between the first edge and the second

edge where the first side support beam is attached neither to said at least one side panel nor said

at least one of the top panel and the bottom panel.

        24.     TWW has offered and continues to offer for sale such inflatable products online

and at various retail establishments, including in this district.

                                          COUNT ONE
                          (Infringement of U.S. PATENT NO. 7,089,618)

        25.     The allegations contained in paragraphs 1–24 above are incorporated by reference

as if fully set forth herein.

        26.     The ‘618 Patent remains in full force and effect, and all of its claims are presumed

valid under the Patent Laws of the United States.

        27.     Claim 13 of the ‘618 Patent claims the following invention:

                An air mattress, comprising:
                a top panel and a spaced bottom panel;
                at least one side panel extending between the top panel and the
                     bottom panel;
                the at least one side panel, the top panel, and the bottom panel
                     being joined to one another along their common peripheral
                     edges to define an air chamber therebetween; and

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               at least one internal side support beam extending in the lengthwise
                    direction of the at least one side panel, the at least one internal
                    side support beam having a first edge affixed to an inside of the
                    at least one side panel, a second edge affixed to an inside of at
                    least one of the top panel and the bottom panel, and a section
                    between the first edge and the second edge where the first side
                    support beam is attached neither to said at least one side panel
                    nor said at least one of the top panel and the bottom panel, the
                    internal side support beam being arranged such that when the
                    air chamber is filled with air, the section of the internal side
                    support beam is in tension and the internal side support beam
                    limits outward expansion of said at least one side panel.

       28.     TWW’s inflatable products, including, but not limited to, Serta SKU No.

85001714, include all the elements set forth in claim 13 of the ‘618 Patent. The ’618 Accused

Products include an air mattress having:

               •   A top panel and a spaced bottom panel;

               •   At least one side panel extending between the top panel and the bottom panel;

               •   The at least one side panel, the top panel, and the bottom panel being joined to

                   one another along their common peripheral edges to define an air chamber

                   therebetween;

               •   At least one internal side support beam extending in the lengthwise direction

                   of the at least one side panel,

               •   The at least one internal side support beam having a first edge affixed to an

                   inside of the at least one side panel,

               •   A second edge affixed to an inside of at least one of the top panel and the

                   bottom panel, and

               •   A section between the first edge and the second edge where the first side

                   support beam is attached neither to said at least one side panel nor said at least

                   one of the top panel and the bottom panel,

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               •   The internal side support beam being arranged such that when the air chamber

                   is filled with air, the section of the internal side support beam is in tension and

                   the internal side support beam limits outward expansion of said at least one

                   side panel.

The Serta SKU No. 85001714 includes a triple-bump external appearance on the side panel due

to the use of at least two internal side support beams and the elements of claim 13. Additional

Serta SKU Nos. ST840017, ST840011, ST840015, ST840018 and Insta-Bed SKU Nos.

84003115, 840017G (together with the Serta SKU No. 85001714 referred to herein as the “’618

Accused Products”) have this same triple-bump external appearance on the side panel and

therefore, on information and belief, also include all of the elements set forth in claim 13 of the

‘618 Patent.

       29.     The ’618 Accused Products infringe at least claim 13 of the ’618 Patent.

       30.     TWW has been and is infringing at least claim 13 of the ’618 Patent, either

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, and/or

importing for sale in the United States, including within this judicial district, without license or

authority, products covered by the ’618 patent, including, for example, the ’618 Accused

Products discussed above.

       31.     On information and belief, TWW has known of the existence of the ’618 Patent,

and its acts of infringement have been willful, and in disregard for the ’618 Patent, without any

reasonable basis for believing that it had a right to engage in the infringing conduct. Among

other things, TWW is the assignee of U.S. Patent No. 10,104,967 and U.S. Patent Application

No. 14/927,438, each of which disclosed the ‘618 Patent in an information disclosure statement

during prosecution.



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          32.    As a result of TWW’s acts of infringement, Plaintiff has suffered, and will

continue to suffer, irreparable harm for which there is no adequate remedy at law. Plaintiff is

entitled to preliminary and permanent injunctive relief against such infringement under 35

U.S.C. § 283.

          33.    Defendant’s acts of infringement of the ’618 Patent have caused and will continue

to cause Plaintiff damages for which Plaintiff is entitled to compensation pursuant to 35 U.S.C. §

284.

          34.    This case is exceptional and, therefore, Plaintiff is entitled to an award of

attorneys’ fees pursuant to 35 U.S.C. § 285.

                                     REQUEST FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays for judgment as follows:

          A.     A judgment that TWW has infringed the ’618 Patent, in violation of 35 U.S.C. §

271(a);

          B.     An order preliminarily and permanently enjoining TWW, its officers, agents,

servants, employees, attorneys, all those in active concert or participation with it, and all other

parties properly enjoined by law, from continued acts of infringement of the ’618 Patent;

          C.     An order for destruction of the means employed by TWW to commit the acts of

infringement complained of above;

          D.     An award of damages adequate to compensate Plaintiff for all such unauthorized

acts of infringement pursuant to 35 U.S.C. § 284;

          E.     A declaration that this case is exceptional within the meaning of 35 U.S.C. § 285,

and an award to Plaintiff of its reasonable attorneys’ fees and other costs and expenses incurred

in the prosecution of this action; and



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       F.     An award of such other and further relief as the Court deems just and proper.




Dated: June 29, 2020                               Respectfully submitted,


                                                   s/ R. Braxton Hill, IV____________
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